Exhibit 6
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

HASSAN CHUNN; NEHEMIAH McBRIDE;
AYMAN RABADI, by his Next Friend
MIGDALIZ QUINONES; JUSTIN RODRIGUEZ,
by his Next Friend JACKLYN ROMANOFF;
ELODIA LOPEZ; and JAMES HAIR,                               No. 20 Civ. 01590

individually and on behalf of all others similarly          SUPPLEMENTAL REPORT OF
situated,                                                   DR. HOMER VENTERS

                          Petitioners,

                -against-

WARDEN DEREK EDGE,

                       Respondent.

       1.      I have reviewed the expert reports of Dr. Jeffrey A. Beard dated May 6, 2020

(“Beard-I”) and Ms. Asma Tekbali dated May 6, 2020 (“Tekbali-I”). I have also reviewed the

Assessment of Metropolitan Detention Center, Brooklyn, New York, COVID-19 Response by

N.C. English dated May 2, 2020 (“MDC 1-13”). In addition, I have also reviewed the

documents referenced in this supplemental report, specifically declarations of people

incarcerated at the MDC filed in this case, copies of paper sick-call records from April 24

through April 28, 2020.

       2.      My original report contained numerous observations of deficiencies in the MDC

COVID-19 response, which can be synthesized into three main points. None of the points made

in the expert reports provide convincing or meaningful rebuttal of these three central concerns.

               a.     The BOP sick call system fails to respond appropriately to COVID-19

                      complaints among detained people, either to provide timely and adequate
                      care, or integrate these complaints into tracking of the COVID-19

                      outbreak inside the facility.

               b.     The BOP has failed to implement adequate protections for people known

                      to be at high risk for serious illness and death from COVID-19.

               c.     People identified as having COVID-19 do not receive regular medical

                      encounters or care.

       3.      With regard to the concern that the BOP utilizes a broken sick call system at

MDC that fails to provide timely and adequate response for individual patients with symptoms of

COVID-19 and also fails to integrate sick call information into tracking of the outbreak.

               a.     Neither expert rebutted reports by detained people that the housing area

                      temperature checks have slowed in frequency from twice daily, to less

                      than daily.

               b.     Neither expert addressed or explained the lack of sick-call information

                      being retained into patient records or being utilized for tracking of the

                      outbreak. The National Commission on Correctional Health Care, which

                      accredits some BOP facilities, addresses the retention and documentation

                      of sick call requests in the following manner: “Without documentation of

                      these steps, it is not possible to evaluate the responsiveness of your sick-

                      call system, and if you are seeking accreditation, to determine if you are in

                      compliance. Request slips are usually filed in the health records and begin

                      the documentation trail. If you do not file the slips in the record, a log

                      may be kept to monitor the stages of the response. The log needs to

                      include the request date, date and result of triage, date of the sick-call visit




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                           if required, etc.” The NCCH further identifies that “you should have

                           documentation of compliance, either through the health records or through

                           logs spanning three years.”1

                   c.      This correctional standard of retaining sick call records is not limited to

                           facilities that receive NCCHC accreditation. For example, in the New

                           York City jail system (in which most facilities are not NCCHC

                           accredited), retention of sick call information is mandated for three years

                           as a matter of local law via the NYC Board of Correction Standards.2

          4.       Neither expert rebutted the specific instances reported by persons I spoke with

concerning their repeated attempts to receive care when reporting clear COVID-19 symptoms

through the sick call process. Neither expert provided any data to indicate that MDC is able to

track who requests sick call, who receives sick call encounters, when they occur, and whether

their encounters are clinically appropriate. I reviewed an additional approximately 30

declarations by people detained at the MDC, and 21 of them reported that they had submitted

sick-call requests that were not responded to.3 I also reviewed 32 of the paper sick call requests

submitted since MDC agreed to start retaining those records, and found 7 that included

complaints of COVID-19 symptoms.

          5.       Neither expert adequately addressed the lack of symptom screening in housing

area temperature checks, other than to reference undefined and undocumented “wellness


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    https://www.ncchc.org/documentation
2
 http://library.amlegal.com/nxt/gateway.dll/New%20York/rules/title40boardofcorrection/chapter3healthcare
minimumstandards?f=templates$fn=default.htm$3.0$vid=amlegal:newyork_ny$anc=JD_T40C003
3
  Declaration of K. Rosenfeld that includes declarations by people detained in MDC, among which the following
reported submitting sick call requests that were not responded to: A. Rabadi; C. Castillo; D. Needham; D. Sanchez;
H. Chunn; H. Soria; J. Deutsch; J. Dixon; J. Hair; J. Olivera; J. Singer; K. Nelson; L. Whitley; R. Molina;
R. Pierson; R. Watson; T. Carpenter; T. Miller; V. Sojos-Valladares; W. Finch; and Y. Platt.


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checks.” If there is such an encounter as a wellness check, nursing staff should document that it

occurs, and they should have standardized questions they ask. Simply directing staff to “check

on” or otherwise ask if someone is “ok” as they pass through a unit is not productive, and in my

experience overseeing health staff who conducted housing area rounds in 13 jails, this type of

approach is not a meaningful way to detect, respond to and track health symptoms.

           6.      My concern in this respect is based on conversations with detained people who

reported that they had COVID-19 symptoms when their temperatures were taken and despite

reporting them to the nursing staff conducting temperature checks, they were ignored. CDC

guidelines for correctional health settings (“Verbal screening and Temperature Check”) are clear

that symptoms of COVID-19 should be elicited as well as temperature.4 This is the practice on

intake and should be the practice in housing areas. Multiple detainees reported that they were

not asked about, and even were ignored when they reported, common symptoms of COVID-19,

including shortness of breath. If the MDC seeks to know the full extent of COVID-19 inside the

facility, it should elicit and address the COVID-19 symptoms of patients in the manner clearly

prescribed by the CDC. I reviewed an additional approximately 30 declarations by people

detained at MDC, and 13 of them reported that they only been screened through temperature

checks, not symptom checks.5

           7.      This repeated lack of response to COVID-19 symptoms was reported but the only

two patients in the isolation unit at the time of my inspection, and they made clear that the lack




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4
    https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/index.html
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  Declaration of K. Rosenfeld that includes declarations by people detained in MDC, among which the following
reported having their temperature checked but not being asked about COVID-19 symptoms; E. Lopez; H. Chunn; H.
Soria; I. Hall; J. Deutsch; J. Dixon; K. Nelson; R. Pierson; S. Bynum; T. Carpenter; T. Miller; V. Sojos Valladares;
and Y. Platt.


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of response to their repeated complaints of COVID-19 symptoms likely cause increased risk of

exposure to other detained people and staff in their original housing area.

       8.      The combination of a broken sick call system, and inadequate housing area

screenings likely results in an underappreciation of the true extent of COVID-19 infection in the

MDC. The rapid spread of COVID-19 throughout correctional facilities is no longer a disputed

outcome. In Chicago and New York City jails, where testing is not universal, already 12.3% and

9.6% respectively of detained people have tested positive. In the MDC, only 6 cases of COVID-

19 have been detected, despite 36 cases among staff. Based on my review of other settings,

while the absolute number of staff versus detainee cases may not be the same, I would expect the

rates of increase to be roughly similar. Instead, at the MDC, we see that the number of cases

among detained people remains flat, despite ongoing reporting of COVID-19 symptoms and

rising levels amongst staff.

                                                                                                 TotalReportedCOVIDͲ19CasesatMDCBrooklynPer
                                                                                                WardenEdge'sResponsestoEDNYAdministrativeOrder
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                                       35

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               TotalNumberofCases




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                                                                                                              InmatePositives(ReporttoCourt)                                                      StaffPositives(ReporttoCourt)




       9.      Given the rapid and overwhelming spread of COVID-19 throughout correctional

facilities, it is inconceivable to me that present practices and data from the MDC reflect anything

other than the undetected spread of this virus.




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          10.      I have also reviewed the declaration of Justin Rodriguez, who I initially spoke

with during my inspection on April 23. Mr. Rodriguez reports that he was in a shared cell in

housing area 53 in March 2020 when he started to feel ill, including symptoms of shortness of

breath, feeling feverish, chills, weakness and loss of sense of smell, all of which are symptoms of

COVID-19 according to the CDC.6 Mr. Rodriguez reports that he asked for sick call slips 5 or 6

times from correction officers as well as the nurses who passed to take his temperature each day.

His requests were never met and he was both unable to obtain a sick call slip to fill out, and also

unable to get any medical attention for his COVID-19 symptoms. He reports experiencing these

symptoms for approximately 2 weeks, and being told by security staff “If you don’t have a fever,

you can’t get no medical attention.” Mr. Rodriguez was ultimately transferred to the isolation

unit because of an elevated temperature, after spending approximately two weeks experiencing

COVID-19 symptoms, being on a housing area with other detained people and staff, and never

receiving assessment or care. Once on the isolation unit, Mr. Rodriguez reports being locked in

his cell for 24 hours per day, with the exception of a shower every three days, and without any

medical encounters occurring. He reports being discharged home where he took a COVID-19

antibody test which was positive, the results of which I reviewed. This case is a disturbing

example of how patients who are ill with COVID-19, and who report their symptoms to health

staff, are actively ignored unless they happen to have an elevated temperature at the time health

staff pass by. This case also clarifies the manner in which MDC’s broken sick call system, and

reliance on temperature-only screenings denies individual COVID-19 patients the care they need,

and also dramatically increases the risk of COVID-19 transmission to staff and other detained

people.


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    https://www.cdc.gov/coronavirus/2019-ncov/symptoms-testing/symptoms.html



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           11.     I have also reviewed the statements by MDC staff concerning the availability of

COVID-19 tests. The deposition of HSA Vasquez indicates that MDC has access to 9-10

COVID-19 tests. This represents an unacceptable and far too low capacity for testing. Many

BOP facilities have tested and identified hundreds of COVID-19 cases across the nation. In New

York City, testing is now being offered to anyone who thinks they may have or did have

COVID-19. Given the lack of clarity and competence surrounding responding to obvious

COVID-19 symptoms among detained people at the MDC, there is a pressing need to

immediately expand testing for COVID-19, as I outlined in my original report.

           12.     Neither expert report provided convincing rebuttal of my concern that the BOP

has failed to implement adequate protections for people known to be at high risk for serious

illness and death from COVID-19. The CDC and the BOP itself acknowledge that a subset of

detained people is at increased risk of serious illness and death from COVID-19. As people held

in BOP facilities have started to die from COVID-19 infection, the BOP itself has identified that

many of these people were in high risk groups based on their pre-existing health problems.7

           13.     While there maybe be disagreement about the exact definitions used to identify

people who are at high risk, there is no dispute that some people are high risk. For example,

Taklabi report states that pregnant women are not considered high-risk, but the BOP’s own

pandemic influenza plan, and the Department of Homeland Security’s own COVID-19 plan do

identify pregnant women as high-risk.8 Nonetheless, the MDC has failed to enact any increased

level of protections for these patients, despite full knowledge of who they are, and that they face

increased risk for serious illness or death. The specific measures I called for to address this issue


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7
    https://www.bop.gov/resources/press_releases.jsp
8
    EOIR Interim Guidance April 4, 2020 and https://www.bop.gov/resources/pdfs/pan_flu_module_3.pdf



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include: (i) testing of high-risk patients; (ii) placement of high-risk patients into specialized

housing areas based on their test results; (iii) twice daily sign and symptoms checks; and (4)

increased infection control training and practices for staff working in these units.

          14.     Both expert reports challenge the very idea of cohorting high risk patients as an

infection control response. Cohorting patients based on risk factors is an essential and common

practice in correctional settings, including in outbreak response. I have managed numerous

outbreaks in correctional settings and view this as a critical tool in protecting the most vulnerable

patients. Even the BOP’s own pandemic influenza plan anticipates that patients may be cohorted

based on chronic health problems such as diabetes.9 This approach is not only important to

create increased levels of protection, but to provide higher levels of screening and surveillance.

Cohorting high-risk patients does not mean that they are to be transferred from single cell

settings to open dorms. In fact, the use of single cell housing areas for high risk patients is

beneficial, but the MDC’s practice of having high-risk patients spread throughout the facility,

and often in double bunk cells, means that there is no special or heightened surveillance of their

health status. This is especially important given the failures of the MDC to provide screenings in

these areas, including the lack of symptom screening and the lapses even in their sole area of

focus, temperature screening.

          15.     The two expert reports did not address the lack of care for people in the isolation

unit identified as having COVID-19. Review of medical records and speaking with people on

the isolation unit reveal that once identified as having COVID-19 or being identified as a

potential case, detained people are denied basic daily health encounters and kept locked in their

cells. Brief temperature checks and occasional questions from staff are implemented, but there is


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9
    https://www.bop.gov/resources/pdfs/pan_flu_module_3.pdf



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no regular health encounter that involves having a person leave their cell and be examined by a

nurse or doctor for their lung and heart sounds, blood pressure and other essential elements

required to determine whether their COVID-19 illness is getting better or worse.

           16.     The lack of basic type of daily health encounter may stem from the lack of a

clinical examination space on the unit, but the responses from BOP and their experts on this

matter have varied from attempting to establish that an adequate health encounter could take

place inside a person’s cell, to opining that having a clinical examination space outside the unit

could be adequate. Whatever the response, it seems clear from medical records and speaking

with people in the isolation unit that neither of these things is actually occurring; patients are not

taken out of their cells each day for a clinical encounter outside the unit, and staff are not

entering their cells to attempt a clinical encounter there (which would be ill-advised and

inadequate).

           17.     This deficiency leaves patients already identified as having COVID-19 without

basic clinical assessments. When I inspected the facility, I spoke with Mr. Victor Sojos

Valladares in the isolation unit. He reported that while held in the isolation unit for having tested

positive with COVID-19, shortness of breath, fever and multiple other symptoms, he went ten

days without a clinical encounter. During this time, he reported that not one single health

professional listened to his lungs or heart, despite his initial presentation of shortness of breath.

           18.     This approach stands in stark contrast to BOP’s own pre-existing pandemic

influenza plan which identifies the need for daily and structured clinical assessments of persons

identified as being ill.10 The CDC states clearly in their COVID-19 clinical guidance that

“Clinicians should be aware of the potential for some patients to rapidly deteriorate one week


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     https://www.bop.gov/resources/pdfs/pan_flu_module_3.pdf



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after illness onset.”11 Without conducting daily structured encounters with COVID-19 patients,

the BOP remains unable to detect when this clinical deterioration would occur, and increases the

risk of serious illness and death among these patients.

           19.      This approach to conducting basic medical encounters is also clearly outlined in

NCCHC standards, which identify that when nursing staff conduct basic triage of patients, they

should include the following: “The area must be of adequate size, provide auditory or visual

privacy, have a sink and water, and have washable hard surfaces. Equipment nurses use for sick-

call evaluation includes the health record, thermometer, stethoscope, sphygmomanometer,

handheld light, exam gloves, dressing supplies, germicidal solution and reference material.”12

This level of equipment and ability to conduct daily encounters is likely even less than what is

required for care of COVID-19 patients because of the high likelihood that these patients will

require emergency administration of oxygen, transfer via stretcher to the main clinic or treatment

rooms of the facility, and may require other emergency care including use airway management.

Nonetheless, it is clear that even basic triage encounters are not possible within the isolation unit

of MDC.

                    a.       While the examination space outside the isolation unit is close in physical

                             proximity, that proximity misses the point of the infection control risks.

                             Every time a person with COVID-19 leaves the isolation unit, there is a

                             significant risk of transmission of virus outside the unit. This risk is even

                             higher in the MDC given the other failures mentioned above. The risk

                             posed by movement also appears to be appreciated by the MDC itself,


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     https://www.cdc.gov/coronavirus/2019-ncov/hcp/clinical-guidance-management-patients.html
12
     https://www.ncchc.org/cnp-screening-sickcall-triage



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                      given the apparent practice of simply leaving COVID-19 people in their

                      cells and not conducting any meaningful clinical assessments of them

                      (uncontested point #3 above).

              b.      While the BOP’s own team found that N95 masks were present on the

                      PPE cart of the isolation unit, none were present when I inspected the

                      facility on April 23, 2020, and staff were not wearing them. If a patient

                      were indeed taken to the clinical examination room outside the isolation

                      unit, they would do so without an N95 mask.

              c.      The CDC guidelines acknowledge that some facilities may not be able to

                      adequately implement medical isolation. In this circumstance, the

                      guidelines state that “Others have neither onsite healthcare capacity nor

                      onsite medical isolation/quarantine space and must transfer ill patients to

                      other correctional or detention facilities or local hospitals for evaluation

                      and care.”

       20.    The expert reports proffered by the MDC do not allay my fears that practices

inside the MDC are causing many people with symptoms of COVID-19 to be denied assessment

and care, and that both high-risk patients and those who do become identified as having COVID-

19 are not being adequately protected.

       21.    I do not agree with or take solace in the stance of the experts that the lack of a

death among detained people at MDC is somehow proof of the adequacy of the COVID-19

response. While I have numerous other specific rebuttals to points made in the expert reports,

this supplemental report addresses the areas I am most concerned reflect an ongoing lack of

appreciation of the severity of deficiencies in the MDC COVID-19 response.




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       22.   I reaffirm my prior list of priorities for remediation of the COVID19 response at

MDC.


Dated: May 11, 2020
       Port Washington, New York

                                                  HOMER VENTERS, M.D.




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